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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

BRANDON L. PAYNE,                              )              Case No. 8:16-cv-00172
                                               )
               Plaintiff,                      )
                                               )
   v.                                          )
                                               )             ORDER OF DISMISSAL
CNH INDUSTRIAL AMERICA, LLC                    )               WITH PREJUDICE
                                               )
               and                             )
                                               )
MALACE INTERNATIONAL, LLC, a                   )
Michigan limited liability company,            )
                                               )
             Defendants.                       )
                                               )



        After considering Plaintiff Brandon L. Payne’s and Defendants’ CNH Industrial America,

LLC and Malace International, LLC, a Michigan limited liability company, Joint Motion to

Dismiss with prejudice, the Court sustains the joint motion and dismisses this matter with

prejudice.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that this matter is

dismissed with prejudice, each party to pay its own costs.



        DATED this 8th day of September, 2017.


                                                   BY THE COURT:


                                                   ___s/ Joseph F. Bataillon_____________
                                                   Joseph F. Bataillon
                                                   Senior United States District Judge
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Prepared and submitted by:


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Approved as to form and content and entry requested:

BRANDON L. PAYNE, Plaintiff,                   MALACE INTERNATIONAL, LLC, a
                                               Michigan   limited liability company,
                                               Defendant.

/s/ Terrance J. Salerno                        /s/ John M. Burns______________________
Terrance J. Salerno                            John M. Burns
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